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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

LOCKWOOD INTERNATIONAL,            §
INC.,                              §
      Plaintiff/Counter-Defendant, §
                                   §
v.                                 §
                                   §
WELLS FARGO BANK, N.A.,            §
WELLS FARGO SECURITIES, LLC, §
AND TRUSTMARK NATIONAL             §
BANK,                              §              CIVIL ACTION NO. 3:17-CV-00365
      Defendants/Counterclaimants/ §
      Third-Party Plaintiffs,      §
                                   §
v.                                 §
                                   §
LOCKWOOD ENTERPRISES, INC., §
LMG MANUFACTURING, INC.,           §
PIPING COMPONENTS, INC.,           §
LOCKWOOD HOLDINGS, INC.,           §
LH AVIATION, LLC,                  §
7807 EAGLE LANE, LLC, AND          §
MICHAEL F. LOCKWOOD,               §
      Third-Party Defendants.      §

                    SUPPLEMENTAL RESPONSE TO
           MICHAEL F. LOCKWOOD'S MOTION TO EXTEND STAY

      Third-Party Plaintiffs Wells Fargo Bank, N.A. and Trustmark National Bank

(collectively, "Lenders") file this Supplemental Response to Michael F. Lockwood's

Motion to Extend Stay to bring to the Court's attention the following case which is

directly on point to the issue at hand: Even in the face of an indemnity claim, this Court

should not stay this guaranty action until the Bankruptcy Court extends the stay to

Michael Lockwood.


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A.    The Facts of CresCom Are Near Identical To This Case

      1.     In CresCom Bank v. Terry, attached hereto as Exhibit A, the United States

District Court for the District of South Carolina deferred to the bankruptcy court on the

question of extending the automatic stay and held that "[a]bsent an order from the

bankruptcy court extending the stay, this action shall proceed", and denied guarantor's

motion to stay plaintiff CresCom Bank's ("CresCom") suit against the guarantor.

CresCom Bank v. Terry, 499 B.R. 494, 498 (D.S.C. 2013).

      2.     Similar to this case, CresCom had filed suit against both the borrower

("CCT") and individual guarantor ("Terry") seeking recovery on four separate loans

secured by promissory notes, mortgages executed by the borrower, and Terry's personal

guaranty. 499 B.R. at 495. Shortly after, CCT filed a Chapter 11 Petition which stayed

proceedings by CresCom against CCT.         Id.   Terry, the guarantor, then requested

extension of the automatic stay to the proceedings against himself, based on the "unusual

circumstances" exception because he was the sole member of CCT and was therefore the

only person who can effectively carry out CCT's plan of organization and without a stay

he would be unable to devote his full attention and money toward the reorganization. He

also argued that he was entitled to indemnity for any payment he would make as CCT's

guarantor, which would impact CCT's estate. Id. At the time of Terry's motion to stay,

neither Terry nor CCT had sought modification or extension of the automatic stay from

the bankruptcy court. Id. at 496.




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B.     There Is Nothing "Unusual" Where a Creditor Seeks to Recover From a
       Guarantor, Even One Entitled To Indemnity

       3.     In addressing the "unusual circumstances" exception, the Court stated that

there was nothing "unusual" about the facts in CresCom which warranted extension of

the stay:

       Far from unusual, CresCom merely seeks to continue its action against a
       non-debtor guarantor. The guaranties at issue are unconditional guaranties
       of payment and primary obligations of Terry in his individual capacity.
       "Nothing in § 362 suggests that Congress intended that provision to strip
       from the creditors of a bankrupt debtor the protection they sought and
       received when they required a third party to guaranty the debt." Credit
       Alliance, 851 F.2d at 121. "The very purpose of a guaranty is to assure the
       creditor that in the event the debtor defaults, the creditor will have someone
       to look to for reimbursement." Id. at 122 (quotation and alterations
       omitted). This purpose "would be frustrated by interpreting § 362 so as to
       stay [the creditor's] action against the non-bankrupt guarantor when the
       defaulting debtor petitioned for bankruptcy. Id. Moreover, a statutory
       right to bring an action for indemnification is not sufficient to justify
       extension of the automatic stay. See Doyle v. Fleetwood Homes of Va.,
       Inc., C.A., No. 2:08-1442, 2009 U.S. Dist. LEXIS 37297 at *2 (S.D. W. Va.
       Apr. 30, 2009) ("Simply because the [non-debtor codefendants] may be
       entitled to contribution or indemnity from [the debtor] does not call for
       expansion of the stay imposed by § 362(a)(1)."). In Credit Alliance, the
       Fourth Circuit refused to expand the automatic stay to include the guarantor
       of a note despite the fact that the guarantor would be entitled to bring
       claims for reimbursement through the bankruptcy proceedings. 851 F.2d at
       120-21. The Court fails to see how the instant case differs from Credit
       Alliance.

Id. at 497 (emphasis added).

       4.     The Court concluded that the question of whether to extend the automatic

stay to the guaranty action was most appropriately considered by the bankruptcy court

overseeing CCT's bankruptcy proceedings, and denied Terry's motion to extend the stay.

See also P.O'B. Apollo Tacoma, L.P. v. TJX Cos. (In re House2home, Inc.), 2002 U.S.


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Dist. LEXIS 18702 (N.D. Tex. 2002) (declining to stay case against guarantor alleging

right to indemnity from bankrupt debtor, and instructing guarantor to seek relief from

bankruptcy court). 1

        5.      As in CresCom Bank v. Terry, this Court should decline to stay this

guaranty action. Notably, Michael Lockwood has not cited to any authority where a

court has extended the automatic stay to an individual guarantor.

                                CONCLUSION AND PRAYER

        For these reasons, Third-Party Plaintiffs Wells Fargo Bank, N.A. and Trustmark

National Bank respectfully request that the Court deny Third-Party Defendant Michael F.

Lockwood's Motion to Extend Stay and allow the guarantor litigation against Third-Party

Defendant Michael F. Lockwood to proceed.




1
    The P.O'B. case is cited in Lender's Response (Doc. 42) at pp. 12-13.

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                                       Respectfully submitted,

                                       By /s/ Yasmin Atasi
                                           Yasmin Atasi
                                           State Bar No. 10435150
                                           yatasi@winstead.com
                                           Scott F. Courtney Jr.
                                           State Bar No. 24084384
                                           scourtney@winstead.com
                                           Angela Kao
                                           State Bar No. 24105652
                                           akao@winstead.com
                                           WINSTEAD PC
                                           600 Travis Street, Suite 5200
                                           Houston, Texas 77002
                                           (713) 650-8400
                                           (713) 650-2400 (Fax)

                                       ATTORNEYS FOR DEFENDANTS,
                                       COUNTERCLAIMANTS, AND THIRD
                                       PARTY PLAINTIFFS, WELLS FARGO BANK,
                                       N.A., WELLS FARGO SECURITIES, LLC,
                                       AND TRUSTMARK NATIONAL BANK.



                          CERTIFICATE OF SERVICE

      I hereby certify that on the 19th day of February, 2018, a copy of the foregoing,

and all exhibits and attachments thereto, was served on all counsel of record via the

Court's ECF system.


                                       /s/ Yasmin Atasi
                                       Yasmin Atasi




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